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                          UN ITED STATES D ISTRICT CO URT FOR TH E
                               SOU THERN D ISTRICT OF FLO RIDA
                                        M iam iD ivision

                            C aseN um ber:18-20050-CIV -M O ltEN O

 IN ltE THE CO M PLAIN T O F: RO Y AL
 CARIBBEAN CRUISES LTD.,asownerofthe
 2016Seam oo GTS vesselbearing serial
 numberYDV33657C6l6forexonerationof
 liability,


              O RD ER DIR EC TIN G CLER K TO ISSU E NO TICE O F PU BLIC ATIO N

        THIS CAUSE came before the Court upon Royal Caribbean's M otion for Order

 DirectingClerktoIssueNoticeofPublication(D.E.8),filedonJanuarv 12.2018.
         THE COU RT has considered the m otion,the pertinentportions ofthe record,and being

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           ully advised in theprem ises,itis

        ADJUDGED thatthe m otion is GRANTED .The Clerk isdirected to issue theattached

 N otice ofPublication.

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         DON E AN D OR DERED in Cham bersatM iam i,Florida,this             ofJanuary 2018.



                                               FED ERIC -           O
                                               UN IT    TA TES D ISTRICT JU D G E

 Copiesfurnished to:

 CounselofRecord
